Case 2:03-cr-20316-.]PI\/| Document 90 Filed 05/10/05 Page 1 of 2 Page|D 82

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. OB~ZOBlG-Ml

SHELDRICK EDWARDS
Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on May 9, 2005, the United States
Attorney for this district, Leonard Lucas, appearing for the Government
and the defendant, Sheldrick Edwards, appearing in person and with
counsel, William Anderson, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts l and 4 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case will be set by the case manager before
Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the l§)day of May, 2005.

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J PHIPPS MCCALLA
ITED STATES DISTRICT COURT

 

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Honorable Bernice Donald
US DISTRICT COURT

